Case 6:20-cr-00085-PGB-DCI Document 25 Filed 02/12/21 Page 1 of 20 PageID 47

   x tpp,o,a&tt)                                          ChiefApproval     4C*'

                       I'NITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DTVISION

   T'NITED STATES OF AMERICA

         v.                                     CASE NO. 6:20-cr-85-Orl40DCI

   JORGE LUIS ARRONTE VALLADARES

                               PLTAAGREBME}"IT

          Pursuant to Fed. R. Crirn. P. l1(c), the United States of America, by

   Maria Chapa Lopez, United States Attomey for the Middle District of

   Florida, and the defendant, JORGE LUIS ARRONTE VATLADARES, and

   the attomeys for the defendant, Jose Rivas and James Smith, mutually agree

   as follows:

   A.    Particukricdlemr
          L       CountPleadingTo

          The defendant shall enter a plea of guilty to Count One of the

   Irdictrnent. Count One charges fte defendant with possession of     15 or more

   counterfeit and unauthorized access devices, in violation of 18 U.S.C.

   $ 102e(aX3).

          2.      MaximmlPoalties

          Count One carries a maximum serrtence of l0 years' imprisonment, a

   fine of not mor€ than $250,000, or hilice the gross gain caused by the offense,




   Defendant's
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Case 6:20-cr-00085-PGB-DCI Document 25 Filed 02/12/21 Page 2 of 20 PageID 48




   or twice the gross loss caused by the offense, whichever is greater, a term   of
  supervised release   ofnot more than three years, and a special   assessment   of

  $100, With respect to certain offens$, the Cou* shall order the defendant to

  make restitution to any victim of the offenses, and with respect to other

  ofenses, the Court may order the defendant to make restifudon to any victim

  of fhe offenses, or to the community, as set forth below.

         3.       Elemeatrofdrr()ffense

         The defendant acknowledges understanding the natore and elements             of

  the offense wirh which defendant has been charged and to which defendant is

  pleading guilty. The elements of Count One are:

         First          The defendant knowingly possessed fifteen or more access
                        devices;


         Second:        Those devices were counterfeit or unauthorized;

         Third:         The defendant possessed those devices with the intent to
                        defraud; and

         Fourth:        The &fendant's conduct afected interstate or foreign
                        cotllmerce.

         4.       No Fur&er Charges

         If the Court accepts this plea agreement, the United Stat€s Atromey's

   Office for the Middle Disrict of Florida agrees not to charge defendant with

   committing any other federal criminal offenses known to the United States




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Case 6:20-cr-00085-PGB-DCI Document 25 Filed 02/12/21 Page 3 of 20 PageID 49




   Attomey's Office at &e time of the execution of this agreement, related to the

   conduct giving rise to this plea agreement.

            5.    Mandatory Restitution to Victim of Ofegse ofeonviction

            Pursuant to l8 U.S.C. $ 3663A(a) and O), defendant agrees to make firll

   restitution to &e victirns of his offense of conviction.

            6.    Guidelines Sentence

            Punuant to Fed. R. Crim. P. I I(cll[B), the United States will

   recommend to the Court that the defendant be sentenced within the

   defendant's applicable guidelines rnnge as determined by the Court pursuant

   to the United States Sentencing Guidelines, as adjusted by any deparnrre the

   Unit€d States has agreed to recommend in this plea agreement. The parties

   understand that such a recommendation is not binding oo the Court and that,

   if it is not accepted by this Court, neither the Uniied States nor the defendant

   will   be allowed to withdraw from &e plea agrcernent, and the defendant    will

   not be allowed to withdraw from the plea of guilty.

            7.    Accel,tance of Resgonsibility:   fhrec&ycls
            At the time of sentencing, and in the event that no adverse information

   is received $uggesting such a recommendation to be unwarranted, the United

   States   will recommend to the Court that the defendant receive a two-level

   downward adjustment for acceptance of responsibility, pursuant to USSG



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Case 6:20-cr-00085-PGB-DCI Document 25 Filed 02/12/21 Page 4 of 20 PageID 50




   $   3El.l(a), The defendant   understands &at this recommendation or request is

   not binding on the Court, and if not accepted by the Coun, the defendant       will

   not be allowed to with&aw from the plea.

           Further, at the time of sentencing, if the defendant's offense level prior

   to op€ration ofsubsection (a) is level 16 or geater, and ifthe defendant

   complies with the provisions of USSG $ 3El.l(b) and all terms of this Plea

  Agreement, including but not limited to, fhe timely submission of the financial

  affidavit referenced in Paragraph 8.5., the United States agrees to file a motion

  pursuant to USSG $ 3E1.lO) for a downward adjustment sf one additional

  level. The defendant understands that the determination       as   to whether the

  defendant has qualified for a downward adjusunent ofa third level for

  acceptance of responsibility rests solely with the United States Attomey for the

  Middle District of Florida, and the defeadant agrees tlat the defendant cannot

  and    will not challenge tbat determination, whetherby appal, collateral attack,

  or otherwise.

           8.     Forfeiture of Assets

           The defendant agr€€s to forfeit to the United States immediately and

  voluntarily any and all assets and property, or portions thereof, subject to

   forfeizure, pursuanr to 18 U.S.C. $$ 982(aX2XB) and 1029(c{l)(C), whether in




  Defendant's Initials
Case 6:20-cr-00085-PGB-DCI Document 25 Filed 02/12/21 Page 5 of 20 PageID 51




   the possession or control ofthe United States, the defendant or defendanfs

   nominees.

         The defendant agrees and consents to the forfeiture ofthese assets

   pursuant to any federal criminal, civd judicial or administrative forfeiture

   action. The defendant also agrees to waive all constitutional, statutory and

   procedural challenges (includiag direct appeal, habeas corpus, or any other

   means) to any forfeiture carried out in accordance with this Plea Agreement

   on any gounds, including that the forfeiture described berein constitutes an

   excessive fine, was not properly noticed in the charging instrument, addressed

  by the Coun at the time of &e guilty plea, announced at sentencing, or

   incorporated into the judgment.

         Ifthe United States seeks the fiorfeiture ofspecific   a$sets pursuant to

   Rule 32.2(b[ ), the defendant agrees that &e preliminary order of forfeiore

   will satisfy the notice requirement ard wif   be final as to the defendant at the

   time it is entered. [n the event the forfeitwe is ornitted ftom the judgment, the

   defendant agrees that the forfeiture order may be incorporated into the written

   judgment at any time pu$uant to Rule 36"

         The defendant agrees to take all steps necessary to identifu and locarc

   all properry subject to forfeiture and to transfer custody ofsuch property to the

   United States before the defendant's xntencing. To that end, &e defendant




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Case 6:20-cr-00085-PGB-DCI Document 25 Filed 02/12/21 Page 6 of 20 PageID 52




   agrees to make a   full and complete disclosure of all   assets over which

   defendant exercises control directly or indirectly, induding all assets held by

   nom:nees, to execute any documents requested by th€ United States to obtain

   ftom any other parties by lawful means a!!y records of assets owned by the

   defendant, and to consent to the release of the deGndant's tax retumt for the

  previous five years. The defendant further agrees to be interviewed by the

  govemment, prior to and after senlencing, regarding such assets and their

  connection to criminal conduct. The defendant further agrees to be

  poiygaphed on the issue of assets, if it is deemed necessary by the United

   States. The defendant agrees that Federal Rule of Criminal Procedure I       I and

  USSG $ 181.8 wiil not protect from forfeiture assets di$closed by the

  defendant as part ofthe defendant's cooperation.

         The defendant agrees to take all steps necessary to assist the

  goveftment in obtaining dear title to the forfeitable assets before the

  defendant's sentencing. In addition to providing full and complete

  information about forfeitable assets, these steps include, but are not limited to,

  the surrender of title, the sryning of a consent decree of forfeiture, and signing

   ofany other documents necessary to effecruate such nansfers.




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Case 6:20-cr-00085-PGB-DCI Document 25 Filed 02/12/21 Page 7 of 20 PageID 53




            Forfeiture of the defendant's assets shall not be treated as satisfaction   of
   any fine, resdrution, cost of imprisonment, or any other penalty the Court may

   impose upon the defendant in addition to forfeiture.

            The defendant agrees that, in the event &e Court determines that the

  defendant has breached this section of the Plea Agreement, the defendant may

  be found ineligible for a reduction in the Guidelines calculation for acceptance

  of responsibility and substantial assistance, and may be eligible for an

  obstruction ofjustice enhancement.

            The defendant agrees that the forfeirure provisions ofthis plea

  agreement are intended to, and will, survive the defendant, notwithstanding

  the abatement of any underlying criminal conviction after the execution of this

  agreement. The forfeitability of any particular propeny pursuant to this

  agreement shall be determined as if the defendant had survived, and that

  determirntion shall be binding upon defendant's heirs, successors and assigns

  until the agreed firrfeiture, including any agreed forfeiture amount, is collected

  intull.

            9.    Removal - Notification

            The defendant has been advised and understands that pleading guitty

  may have coasequences with respect to the defendant's immigration status              if
  the defendant is not a citizen of the United States. Under federal law. the




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Case 6:20-cr-00085-PGB-DCI Document 25 Filed 02/12/21 Page 8 of 20 PageID 54




   offense to which defendant is pleading gullry may be a removable offense.

   Removal and other immigration consequences are the subject of a separate

  proceeding, however, and the defendant understands that no one, including

  the defendant's attorney or the district court, can predict to a certainty   fie
  effect of the defendant's conviction on the defendant's immigration status.

  The defendant nevertheless affirms that the defendant wants to plead guilty

  regardless of any immigration consequences that may result ftom the

   defendant's guilty plea, even if the consequence is the defendant's autonatic

   removal from the United States following completion of the defendant's

   s€ntence.

  B.     Standard      Tens an Cpnditioas
         1.         Restitution. Speci.al Assessmeat arrd Fine

         The defendant un&rstands and agrees that the Court, in addition to or

   in lieu of any other penalty, shall order the defendant to make restitution to

   any victim of the ofilense(s), pursuant to 18 U.S.C. S 3663A, for all offenses

   described   in   18 U.S.C. $ 3663A(cX1); and the Court may order the defendant

   to rnake restitution to any victim of the ofense(s), pursuant to   18   U.S.C.   S


   3663, induding restitution as to all counts clurged, whether or not the

   defendant enters a plea ofguilty to such counts, and whether or not such

   coun8 iue dismissed pursuant to this agreement. The defendant further




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Case 6:20-cr-00085-PGB-DCI Document 25 Filed 02/12/21 Page 9 of 20 PageID 55




   understands that compliance with any restitution payment plan imposed by

  the Court in no way precludes the United States from simultaneously pursuing

  other statutory remedies for collecting restitution (28 U.S.C. S 3003OX2),

  inciuding, but not limited to, gamishment and execution, pusuant to the

  Mandatory Victims Restitution Act, in order to ensure fhat the defendant's

  restitution obligation is satisfied.

         On each count to which a plea of guilty is entered, the Coun shall

  impose a special assessment pursuant to 18 U.S.C. S 3013. To ensure that this

  obligation is satisfied, the Defendant agrees to deliver a cashier's check,

  certified check, or money ordfr to the Clerk of the Court in the amount       of

  $100, payable to "Clerk, U.S. District Court" within ten days of the change        of
  plea hearing. The defendant understands that this agreement imposes no

  limitation as to fine.

         2.     SugervisedRelease

         The defendant understands that the offlerse(s) to which the defendant is

  pleading provide(s) for imposition ofa term of supervised release upon release

  from imprisonment, aad that, if the defendant should violate the conditions        of
  release, the defendant would be subject to a further term of imprisonment.




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Case 6:20-cr-00085-PGB-DCI Document 25 Filed 02/12/21 Page 10 of 20 PageID 56




          3.        -Inmigration Consequences of Pleading Guilty

          The defendant has been advised and understands that, upon conviction,

   a defendant who is not a United States citieen rnay be removed Aom the

   United States, denisd citizenship, and denied admission to the United States

   in the future.

          4.        Sentenciqglnfonnatian

          The United States reserves im    riglt   and obligation to report to the Court

   and the United States Probadon Office all information conceming the

   background, character, and conduct ofthe defendaot, to provide relevant

   facnral information, including the totality of the defendanfs criminal activities,

   if any, not limited to the count(s) to which defendant pleads, to respond to

   cornments made by the defendant or defendant's counsel, and to correct any

   misstatements or inaccuracies. The United States further reserves       i6 right to

   make any recommendations it deems appropriate regarding the disposition           of

   this case, subject to any limitations set forfh herein, if any.

          5.        FinancialDisclosures

          Pursuant to 18 U.S.C. 5 366a(dX3) and Fed. R. Crim. P. 32(dX2XAXn),

   the defendant agrees to complete and submit to the United States Attomey's

   Office within 30 days of execution of this agreement an afrdavit reflecting the

   defendant's financial condition. The defendant promises that his financial




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Case 6:20-cr-00085-PGB-DCI Document 25 Filed 02/12/21 Page 11 of 20 PageID 57




   statement and disclosures will be complete, accurate and truthfrrl and     will

   include all assets in which he has any interest or over which the defendant

   exercises control, direcdy or indirectly, including those held by a spouse,

   dependent, nominee or other    &ird party. The defendant further      agrees to

   execute any documents requested by the United States needed to obtain from

   any third part"ies any records of asse8 owned by the defendant, directly or

   through a nominee, and, by fhe execution of this Plea Agreement, consents to

   t}te release of the defendant's tax returns for the prwious five years. The

   defendant similarly aglees and authorizes tlre United States Attomey's Office

   to provide to, and obtain from, the United States Probation Office, the

   financial affidavit, any of the defundant's federal, state, and local tax relums,

   bank records and any other financial inforrnation conceming the defendant,

   for the purpose of making any recornmendations to the Court and for

   collecting any assesstnents, fines, restitution, or flcr&iture ordered by the

   Court. The defendant expressly authorizes the United States Attomels Of[ce

   to obtain curent credit reports in order to evaluate the defendant's ability to

   satisfr any financial obligation imposed by the Courl

          6.     SentencingRecommendations

          It is rmderstood by the parties tbat the Court is neither   a parfy to nor

   bound by thir agreement. The Court may accept or reject the agreement, or



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Case 6:20-cr-00085-PGB-DCI Document 25 Filed 02/12/21 Page 12 of 20 PageID 58




   defer a decision until it has had an opportunity to consider the presentence

   report prepiued by the United States Probation Office. The defendant

   undentands and acknowledges     tlat, althougb the parties are permitted to
   make recommendations and present arguments to the Court, the sentence         will

   be determined solely by the Court, with the assistance of the United States

   Probation Office. Defendant further under$tands and acknowledges that any

   discussions between defendant or defendant's a$omey and the attomey or

   other agents for the government regarding any recornmendations by the

   govemment are not binding on the Court and that, should any

   recommendations be rejected, defendant will not be permitted to withdraw

   defendant's plea pursuant to this plea agreement. The govemment expressly

   reseryes the right to suppod and defend any decision that the Court may make

   with regard to the defendant's sentenc€, whether or not such decision is

   consistent with the govemment's recommendations contained herein.

         7.      Defendant's Waiver of Right to Appeai the Sentence

         The defendant agrees that *ris Court has jurisdiction and authority to

   impose any seotence up to t}le statutory maximum and expressly waives the

   right to appeal defendant's sentence on any ground, including the ground that

   the Court ened in deterrnining the applicable guidelines range pursllant to the

   United States Sentencing Guidelines, except (a) the ground that the sentence




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Case 6:20-cr-00085-PGB-DCI Document 25 Filed 02/12/21 Page 13 of 20 PageID 59




   exceeds   &e defendant's applicable guidelines range    as determined by the

   Court pursuant to the United States Sentencing Guidelines; (b) the ground

   that the sente[ce exceeds the statutory maximum penalty; or (c) the ground

   that the sentence violates the Eighth Amendment to the Constitution;

   provided, however, that if the govemment exercis€s its ri€ht to appeal the

   sentence irnposed, as autlrcrized   by   18 U.S.C. S 3742(b), then the defendant is

   released from his waiver and may appeal the sent€nce as autlorized by 18

   U.S.C. $ 37a2(a).

          8.     Middle Distria of Florida Agreemeat

          It is fifiher understsod that this agreem€nt is limited to *re Office of the

   United States Auomey for the Middle Di$trict of Florida and cannot bind

   ottrer federal, state, or local pro$ecuting authorities, although &is office   will

   bring defendands cooperation, ifany, to the attention ofother prosecuting

   officers or others, if requested.

          9.     Filing of Agreemeat

          This agreement shall be presented to *rc Court, in open court or ig

   cirmera, in whole or in part, upon a showing of good cause, and filed in this

   cause, at the time of defendant's entry of a plea of guilty prrswrnt hereto.




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Case 6:20-cr-00085-PGB-DCI Document 25 Filed 02/12/21 Page 14 of 20 PageID 60




          10. Voluntariness
          The defendant dcknowledges that defendant is entering into this

   agreement and is pleading guilry freely and       voluntarif without reliance upon

   any discussions between the attomey for the government and the defendant

   and defendant's aflomey and without promise of benefit of any kind (other

   than the concessions contained herein), and without threar, force,

   intimidation, or coercion of any kind. The defendant further acknowledges

   defendant's undentanding of the nature of the offense or offenses to which

   defendant is pleading guilty and the elements thereof, induding the penalties

   provided by law, and defendant's complete satisfaction with the representation

   and advice received from defendanfs undersigned counsel          (ifany). The

   defendant also understands that defendant has the right to plead not guilty or

   to persist in that plea   ifit   has already been made, and that defendant has the

   right to be uied by   a   jury with the assistance of counsel, the right to confront

   and cross-examine the witriesses against defendant, the right against

   compulsory self-incrimination, and the right to compulsory process for the

   atteadance of witnesses to testifo in defendant's defense; but, by pleading

   guilty, defendant waives or gives up those righ* and there will be no trial.

   The defendant further understands that ifdefendant pleads guilty, the Coun

   may ask defendant questions about the ofense or offenses to which deftndant




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Case 6:20-cr-00085-PGB-DCI Document 25 Filed 02/12/21 Page 15 of 20 PageID 61




   pleaded, and ifdefendant answers tlose questions under oath, on the record,

   and in the presence of counsel (if any), defendant's answers may later be used

   againsr defendant in a prosecution for pedury or false statement. Tbe

   defendant also understands that defendant will be adjudicated guilty ofthe

   offenses to which defendant has pleaded and,          ifany ofsuch   oFenses are

   felonies, may thereby be deprived of certain rights, such as th€ right to vote, to

   hold public office, to serve on    a   jury, or to have possession of fuearms.

          11. Facrual Basis
         Deferdant is pleading guilty because defendant is in fact guilty. The

   defendant certifies   tiat   defendant does hereby admit that the facts set forth in

   &e attached "Facnral Basis,' which is incorporated herein by reference, are

   true, and were &is case to go to trial, the United States would be able to prove

   those specific facts and others beyond a reasonable doubt.

          12. Entire Agreement
         This plea agreetnent constitutes        tle entire   agreement between the

   government and the defendant with respect to the aforementioned guiity plea

   and no other promises, agreements, or representations exist or have been

   made to the defendant or defendant's attomey with regard to such guilty plea.




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Case 6:20-cr-00085-PGB-DCI Document 25 Filed 02/12/21 Page 16 of 20 PageID 62




          13.   Certification

         The defendaat and defendant's counsel certifr that this plea agleement

   has been read in its   €ntlety by (or has been read to) fhe defendant and that

   defendant fuIly understands its terms.

         DArED     this      l/'   a*v or   t##zazt
                                                     MARTA C}IAPA LOPEZ
                                                     United States Attomey




   Defendant


                                                     .Q6rt-te
                                                     Roger B. Handberg
                                                     Assistant United States   Aromey
                                                     Chief, Orlando Division




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Case 6:20-cr-00085-PGB-DCI Document 25 Filed 02/12/21 Page 17 of 20 PageID 63




                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

   UNTTED STATES OF AMERICA

         v.                                     CASENO.6:20q-85-Or1-40DCI

   JORGE LUIS ARRONTE VALLAPARES

                    PERSONALIZATION OF ELEMENTS

   Cort Olc
         Finfi       On or about Ocober 25, 2Ol9 did you lnowingly possess
                     fifteen or more aco$s devices?

         Second:     Wse those devic€s count€rfeit or unauthodzd?

         Third:      Did you   possess those devices   wi& the intent to defraud?

         Eoluth:     Did your conduct affect intentate or foreign comnerce?




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   Defendant's   l"td^t"&L                  n
Case 6:20-cr-00085-PGB-DCI Document 25 Filed 02/12/21 Page 18 of 20 PageID 64




                       TINITED STATES DISTRICT COLIRT
                        MIDDLN DISTRICT OF FLORIDA
                             ORLANPO DTVISION

   UMTED STATES OF AMERICA

         v.                                         CASE N0.6:20<r-85-Orl40DCI

   JORGE LUIS ARRONTE VALLADARES

                                     TAEIUALBASIS
         On October 25, 2019, the Seminole Financial Crimes Task Force

   observed a Ford E450 bus bearing Floridatag#Fc9959 at fuel pump number

   16 of the WaWa gas station located     at 162 East State Road 434, longwood,

   Florida driven by the defendant, Jorge Luis Arronte Valladares. The bus had

   "First Baptist Church" labeled in red on both sides of the vehicle. Upon a

   review of WaWa fuel pump transacfion records, it was determined that two

   transactions occurred usilg two    diftrent credit   cards by the defendant at

   pump number 16. Following these two transactions, the defendant entered the

   bus and exited the WaWa parking lot.

         Agents conducted a vehicle stop on the bus and made contact with the

   defendant. Prior to coming to a complete stop, agents observed &e bus

   perform several braking attempts. A visual inspection ofthe undscarriage         of
   the vehicle revealed exposed fuel lines not original to the bus as well as leaking

   diesel. The defendant provided verbal and raritten consent to search the bus.




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Case 6:20-cr-00085-PGB-DCI Document 25 Filed 02/12/21 Page 19 of 20 PageID 65




              Upon further inspection of the bus, it was determined the illegal fuel

   bladder was a large metal container, fabricated undemeath the $eats of the

   bus.   A   search   ofthe interior ofthe bus revealed no re-encoded credit cards or

   cards matching the cards the defendant used to purchas€ fuel. While searching

   the exterior of tlte bus, ag€nts located a wallet near a storm drain next to

   where the bus carne to a stop. Inside the wallet was thirty-two Wal-Mart gas

   cards. The cards had suspected zip codes written in marker on the backside          of
   each card, consistent \vith countedeit credit cards. Agents swiped the

   magnetic snipes on the gas cards and determined        ftat thidy of the cards were

   re-encoded      wi& credit card informadon not belonging to the defendaat, Two

   of the cards had no data on the magnetic stripes. The credit card data on two

   of the cards marched the sedit cards the defendant purchased fuel with at the

   WaWa on October 25, 2019.

              The United States Sectet Service determined the issuers of the credit

   card   infomation found on 30 of the seized      acccss devices were Visa,

   MasterCard, American Express, and Discover.

              Visa is an American multinational financial services corporatioa

   headquartered in Foster City, Cdifomia, the activities of which affect foreigrr

   and interstate cornmerce.




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Case 6:20-cr-00085-PGB-DCI Document 25 Filed 02/12/21 Page 20 of 20 PageID 66




         MarterCard is an American multinational financial services corporation

   headquartered in the Maste€ard Intemationai Globat Headquarters in

   Purchase, New York, the activities of whictr affecr foreign and intentate

   conrmerce.

         American Express is an American multinational financial services

   corporation, headquartered in New York, New York, the activities of which

   affect foreign and interstate commerce.

         Discover is an America multinational financial services corporation,

   headquartered in Rivenvoods, Illinois, the activities of which atrect foreigr

   and intelstat€ cotnmerce.

         The combined discovered loss related to unauthorized transactions on

   the seized access devices recovered from the defendant oo October 25, 2019 is

   $4,137.56. The defendant's use ofthose accrss devices, and his possession of

   the 30 unau*rorized accgs devices, affected interstate commerce, because

   some of the transactions occurred in   iltastate commerce.




   Defendant's larti^rs
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